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                          EXHIBIT 1
  Case 4:21-cr-06042-MKD            ECF No. 228-1       filed 01/14/22          PageID.832 Page 2 of 3
                                                         U. S. Department of Justice
                                                         United States Attorney
                                                         Eastern District of Washington
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                                                         Spokane, Washington 99210-1494
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                                                         December 28, 2021

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              Re:   United States v. Yaser et al
                    Court No. 4:21-CR-06042-SMJ

  Dear Counsel:

          The following table details in bold what is being disclosed as part of this initial disclosure.
  This initial disclosure is being provided to you on a government provided USB drive. A password
  to access the USB drive will be sent to you via e-mail. You must return this USB drive
  immediately after copying its contents. The United States has filed an unopposed protective order.
  Even though the protective order has yet to be granted, we request that you treat the discovery as
  though the order has been granted. The disclosures are detailed as follows:

      Disclosure                         Description                                Date of Production


                    Bates Numbered Reports:
                    10000001 – 10002606: FBI Reports & Investigative                       USB Drive
          1         Materials                                                               Shipped
                    20000001 – 20000354: CHS Audio Files                                      Via
                    30000030-30000077, 30000112-30000114, 30000117-                          FedEx
                    30000129, 30000136-30000137: Search Warrants 1                      December 28, 2021
                    40000001 – 40000018: Additional Reports
                    50000001 – 50000015: Recorded Interviews

  1
   Search warrants out of the Southern District of California remain subject to a sealing order. The
  United States is in the process of seeking unsealing for the purpose of discovery disclosures.
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              60000001 – 60006522: Claim Files
              70000001 – 70000544: Bank Records
              80000001 – 80000689: Other Disclosures
                Total GB: 106

        If you are unable to copy the discovery from the USB drive, please contact the U.S.
Attorney=s Office as soon as possible. Likewise, if you have any difficulty with viewing any of
the produced items, please contact the office immediately. If you do no not contact this office, we
will presume that you have received and were able to view/download all the above referenced
discovery.

        At this time, the United States anticipates additional discovery materials will be provided
as they are received and processed by the U.S. Attorney=s Office. Additional discovery material
is likely to include, but may not be limited to, grand jury transcripts, electronically stored
information (ESI) (e.g. digital forensic copies of electronic devices), video surveillance (i.e. pole
cam footage), law enforcement reports, and other documents (including but not necessarily limited
to any Giglio / Henthorn material) that may be relevant to this matter.

        Numerous electronic devices were seized by the FBI pursuant to the search warrants
executed during the investigation. Each device seized is identified in the search warrant returns.
The FBI imaged most, but not all of the devices. If you would like copies of all electronic devices
that the FBI seized and was able to image, please send an external hard drive containing at least
14 TBs of storage capacity directly to FBI Special Agent Matthew McKay, at the FBI Office, Suite
199, 825 Jadwin Avenue, Richland, Washington, 99352. Special Agent McKay will then send
your external hard drive to the FBI CART Unit in Seattle, Washington, to process the seized and
imaged ESI on to your hard drive. If you do not want all the ESI but only a copy of the ESI that
may have been seized from your client (Note: ESI was not seized from every named defendant) or
a particular co-defendant(s), please let us know. As a further note, ESI the FBI seized from
defendant Maria Elena Sanchez is still undergoing a filter review for potential attorney-client
privilege information and has not been made available to the prosecution team. If you have any
questions about this particular ESI, please contact Assistant United States Attorneys George J. C.
Jacobs, III or Dominique Juliet Park.

       Physical evidence is available for your inspection by contacting Assistant United States
Attorneys George J.C. Jacobs, III or Dominique Juliet Park to arrange a mutually convenient date
and time.

                                                      Very truly yours,

                                                      Vanessa R. Waldref
                                                      United States Attorney

                                                      s/ George J.C. Jacobs, III
                                                      George J.C. Jacobs, III
                                                      Dominique Juliet Park
                                                      Assistant United States Attorneys
